Case 1:21-cr-00208-APM Document 18 Filed 05/11/21 Page 1 of 2

JAMES E. MONROE, ESQ.

DUPEE & MONROE, P.C.

211 Main St., P.O. Box 470

Goshen, New York 10924

Attorneys for Defendant Thomas Webster
Our File # 21020CR

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, : Case No. 1:21-CR-208
Plaintiff, : ORDER TO SHOW CAUSE
: FOR CONTEMPT OF
Vv. : FEDERAL SUBPOENA
THOMAS WEBSTER,
Defendant.

Upon the annexed affidavit of James E. Monroe, Esq. in support of Defendant’s Motion
for Holding Non-Party Lieutenant Richard Mantellino and the New York City Police Department
in Contempt of a Federal Subpoena, it is hereby ordered that Lieutenant Richard Mantellino and
the New York City Police Department in the above-captioned matter appear to show cause on

May , 2021 at or as soon thereafter as counsel can be heard, at

 

the United States Courthouse for the District of Columbia, 333 Constitution Avenue N.W.,
Washington, D.C. 20001, why the Court should not hold Lieutenant Richard Mantellino and the
New York City Police Department in contempt for failure to respond to a federal subpoena
pursuant to Federal Rule of Criminal Procedure 17(g); and it is further

ORDERED, that any answering papers, if any, shall be filed with the Clerk of this Court
and served upon the attorneys for the defendant by delivering copies thereof to the offices of

Dupee & Monroe, P.C. attention James E. Monroe, Esq., on or before noon on May , 2021,
Case 1:21-cr-00208-APM Document 18 Filed 05/11/21 Page 2 of 2

and any reply shall be filed and served by the defendant at the hearing hereto before described by
the Court; and it is further

ORDERED, that defendant complete service of process on these non-parties by personal
service in the manner prescribed by Federal Rules of Criminal Procedure §§ 49(a)(1) and
49(a)(4). Defendant shall complete service of this Order and any supporting papers upon which
this Order is based by May __, 2021.

Dated: Washington, District of Columbia
May _, 2021

SO-ORDERED:

 

HONORABLE AMIT P. MEHTA,
UNITED STATES DISTRICT JUDGE
